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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                                 AT MEMPHIS

OUTMEMPHIS; JANE DOE #1;               )
JANE DOE #2; JANE DOE #3; and          )
JANE DOE #4;                           )
                                       )
        Plaintiffs,                    )
                                       )
v.                                     )            Case No. 2:23-cv-02670
                                       )
BILL LEE, in his official capacity as  )            Chief Judge Lipman
Governor of Tennessee; JONATHAN        )
SKRMETTI, in his official capacity as  )            Magistrate Judge Claxton
Attorney General and Reporter of       )
Tennessee; DAVID RAUSCH, in his        )
official capacity as Director of the   )
Tennessee Bureau of Investigation; and )
FRANK STRADA, in his official capacity )
as Commissioner of the Tennessee       )
Department of Correction;              )
                                       )
        Defendants.                    )
                                       )




   UNOPPOSED SECOND MOTION FOR EXTENSION OF TIME TO RESPOND TO
                          COMPLAINT


       Defendants Governor of the State of Tennessee, Bill Lee, and Director of the Tennessee

Bureau of Investigation, David B. Rausch, Tennessee Attorney General and Reporter, Jonathan

Skrmetti, and Commissioner of the Tennessee Department of Correction, Frank Strada, hereby

move under Fed. R. Civ. P. 6(b) for an extension of time in which to respond to the complaint, up

to and including January 12, 2024.

       Good cause exists for the requested extension. The parties have met and conferred multiple

times to discuss a number of threshold matters in this case, including discovery planning and


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ongoing good faith discussions regarding Defendants’ need to know the identities of Plaintiffs Jane

Does #1-4, without which Defendants cannot fully respond to the allegations in this case. The

Parties are in the process of finalizing a temporary protective order for filing that will facilitate

Defendants’ ability to learn these identities, investigate the allegations, and respond to the

complaint. To that end, counsel for Defendants have consulted with counsel for Plaintiffs

regarding this issue, as well as the requested extension up to and including January 12, 2024.

Counsel for Plaintiffs do not oppose this motion, and the parties agree that the extension is

appropriate and in the best interests of the case.



                                                         Respectfully submitted,

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                                                         Attorney General and Reporter

                                                         /s/ John R. Glover
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing was filed and served via the
Court’s electronic filing system on this the 6th day of December 2023, upon:

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                                                           s/ John R. Glover
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